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EXHIBIT H
Case 5:14-cv-01733-TJH-DTB Document 1-8

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4 dons
{| Phone: 619-476-0030; Fax: 773-898-547 |

5 1} Attorney for Plaintiffs

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SUPERIOR COURT OF CALIFORNIA
COUNTY OF RIVERSIDE

 

 

 

JJ ANTHONY PAULEY, an individual, ) Case nCG 1401036

 

 
 

      

 

 

 

 

land CHARITYE PAULEY, an individual)
boo we ) COMPLAD DEMAND TOR
qe Plaintife j ti ~
)
Aye d
1, INC, atid DOES.) } _ f
‘Defendants, §.

 

I INTRODUCTION
1, This is an action for damages brought by individual consumers against

 

27 | (“TCP”) and for invasion of privacy,

28 lif

y
COMPLAINT AND DEMAND FOR JURY TRIAL

 

 
as

i . . i. PARTURS :
2 * Plaintiffs ANTHONY PAULEY and CHARITYE PAULEY (Plainti€es”) are
3 |i natural persons residing in. the State of California, County of Riverside.
4i/ 3. Defendant ALLY FINANCIAL, INC. (“ALLY”) at all times relevant was a
5 | ‘corporation domg business of collecting debts in Riverside County, California operating
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@
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9

_ 6 tf from an address at 300 Galleria Officentre, Suite 201, MC: 480-300-226, Southfield, Mi
248034.. Its:agent for service-of process if CT Coiporation Systém at 818 Weg, Seventh |

4] Street, Second Floor, Les Angeles, CA 90017,

4, Defendants are engaged in the collection of debts from consumers using the
/ ‘Taail and telephone. Defendants regularly attempt to collect consumer debts alleged to be
due to another, Defendants are “Gebt collectors” as defined by the Rosenthal Act, Califomia {
|] Civil Code 1788,2¢¢), ee Co eam a
3. The true names and capacities, whether individual, corporate (including officers |
: and directors thereof), associate or otherwise of Defendants sued herein as DOES } through |
19, inclusive, are unknown to Plaintiffs, who therefore sues these Defendants by such

 

 

 

 

    
 
   

   

  

 

 

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j/ otherwise, for the agresments,

 

24 it 6 Plaintiffs are “debtors” as defined by the Rosentha) Act, California Civil Ch ile :
25 | 1788.2ch). | oe
26 | 7. The purported debt which Defendants attempted to collect from Plaintiff wasa |
27 “consumer debt” as defined by the Rosenthal Act, California Civil] Code-§1:788.2(1),

28 fi

 

 

 

 

 

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COMPLAINT AND DEMAND FOR TURY TRIAL
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| I. FACTUAL ALLEGATIONS

wehicles they purchased.

. "9c Sitias-year prior to the filing of this action, ALLY began a campaign of.

excessive collection cails to Plaintiffs attempting to collect the Debt.
10, ALLY called Plaintiffs residential telephone number using an automated

telephone dialing system and/or @ pre-recorded Gr artificial voi¢e to deliver a message:
lt. ALLY called Plaintiffs up to six times a day on occasion to collect on the
: Debt. os
12. ALLY also called Plaintiff ANTHONY’s mother, step-father, and cousins in

New Jersey in an attempt to collect the Debt.

13... ALLY. obtained telephone numbers for Plaintiff CHARITYE’s brother and

4

| Plaintiffs’ neighbors and contacted them in an attempt to collect the Debt.

14, When ALLY contacted Plaintiffs’ family and friends, ALLY disclosed

|| Plaintiffs’ personal information concerning the Debt without Plaintiffs’ consent.

15. Several times, Plaintiffs demanded that ALLY stop contacting them.
16. ALLY stated that it acknowledged Plaintiff's demand and would note it into

Plaintiffs’ account. =
| 17, However, despite Plaintiff's demands, ALLY continued to contact Plaintiffs and}
Plaintiffs" family and friends regarding the Debt.

18. The frequency of ALLY’s calls and messages constituted harassment.
19. Asa resuli of ALLY’s conduct, Plaintiffs suffered emotional distress.

IV, FIRST CAUSE OF ACTION
(Against all Defendants for Violations of the Resenthal Act)
20, Plaintiffs repeat, reallege, and incorporate by reference al] of the foregoing

paragraphs. [.
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COMPLAINT AND DEMAND FOR JURY TRLAL

 

 

8. Sometime in 2010, Plaintiffs allegedly incurred a debi (the “Debt”) to ALLY for|

 
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my 41. Defendants violated the Rosenthal Act, by including but not limited to, the ;
2 {I following: | :
3 |h (2) The Defendants violated Celifomia Civi) Code §1788.11(d) by causing a |
4 | telephone to ring repeatedly or continuously to annoy the person called;
5! (6) The Defendants violated California Civil Code §1788.) ie) by 1
6 communicating wkh the Plaintiffs with such frequency astobe =
9s | unreasonable and to constitute an harassment to the Plaintiffs under the = {
g circumstances;
of () The Defendants violated California Civil Code §1788,12(b) by i
10 _ ¢Oramunicating information regarding a consumer debt to a member
" of the Plaintiff's family; :
21.) The Defendants violated California Civil Code §1788.17 by failing td: :
13 comply with 15 U.S.C. § 1692b(1) by contacting a person other than the |
14. - Plaintiff and failing to identify him/herself, and/or failing to state hag:
15 I . he/she is confirming or cotrecting Jocation information conceming thd: ,
16 f° Plaintiff ,
17 : _ (8) The Defendants violated California Civil Code §1788.17 by failing ta. .
ig if comply with 15 U.S.C. § 1692b(2) by communicating with persons othe} :
19 than the Plaintiff and Stating that the Plaintiff owes debt; |
20 |} () The Defendants violated Califomia Civil. Code $1788.17 by log
24 Hl , comply with 15°U.S,C. § 1692b(3) by conununicating with persons othe:
22 jf: than the Plaintiff and contacting that person more than orice;
23 | (8) The Defendants violated California Civil Code $1788.17 by failing to
24) comply with 15 U.S.C. § 1692c(b) by communicating with a third person
as ff in connection with the collection of a debt: |
26 (h} The Defendants violated Califomia Civil Code §1788.17 by failing to}
27 4. comply with 15 U.S.C. § 1692d by engaging in conduct the “Hatural:
28 j Consequence of which is to harass, Oppress, or abuse Plaintiff in 1
; . 4
| COMPLAINT AND DEMAND FOR JURY TRIAL

 

 
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q | connection with the collection of the alleged debt; and *

2 (i) The Defendants violated California Civil Code §1 788.17 by failing to

3 ff comply with 15 U.S.C. § 16924(5) by causing the phone to ring i

4, engaging a person in telephone conversations repeatedly with the tintent-t ‘ j

53 | harass, oppress, and abuse the Plaintiff in connection with the colonial

6 | of the Debt; and
vue tes ) coos Ge. Phe: Defendanre -vistited TS USC. § 1692(f) by “using unfair oi

3 it unconscionable means to collect or attempt to collect a debt. . .
5.FF 22. Defendants’ acts as described above were done intentionally with the purpose of| ‘

10 coercing Plaintiffs to pay the alleged debi.
ay 23. Asa proximate result of Defendants’ violations enumerated above, Plaintiffs
42 tem been damaged in amounts which are subject to proof. cue cece vue es

yf 24. Defendants’ violations of the Rosenthal Act were willful and knowing,
i4 || Defendants are therefore liable to Plaintiffs for Plaintiffs’ actual damages, statutoty damages,
15 {land attorney's fees and costs pursuant to Califomia Civil Code §1788.30, |

 

ry Y. SECOND CAUSE OF ACTION

18 {} (Against all Defendants for Invasion of Privacy: Intrusion Juto Private Affairs and

19: ° Public Disclosure of Private Facts) .

20 ; 25. Plaintiffs repeat, reallege, and incorporate by reference ail of the foregoing
21 |i paragraphs, woe
22, : 26. Plaintiffs had a reasonable expectation of privacy in their solitude, seclusion
23 || and private concems and affairs. ;

 

————

 

27, Defendant willfully and intentionally intruded into Pisintiffs' solitude, seclusiog
25 fland private affairs by repeatedly and unlawfully attempting ‘to collect the Debt and disclosin 4
26 ‘personal details regarding Plaintiffs to third parties, |
27 28. Defendant's intrusions would be highty offensive to a reasonable person and dic :

  

28 ‘Vin fact offend Plaintiffs.

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 

 

 

 
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eH 20: As a result of such invasions of privacy, Plaintiffs were harmed and caused

{| emotional distress.
30, . Defendants acted with oppression or malice, and Defendants are therefore liable!

 

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4 | ‘to Plaintiffs for damages in an amount to be proven at tial, and for punitive damages.
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Vi. THIRD CAUSE OF ACTION

 

EM. . (As against Defendants for Violation of the TCPAJ

gif SL. Plaintiffs repeat, reallege and incorporate by reference all of the foregoing

9 Hhparagraphs, | ‘
“0/32. Defendants violated the TCPA by making several telephone calls to Plaintifis' |

1 residential telephone line ‘using an automated telephone dialing system and/or a Prerecorded |
12 | ‘or artificial voice. meee ee od
“inl 33° Pleinder aid not expresely consent to Defendant's placement of telephone calls
14 j}to Plaintiff's residential telephone line. In fact, Plaintiffs specifically requested Defendant to }

 

1st stop calling,

16. 34. Defendants willfully or knowingly violated the TCPA, by placing non-.

17 {femergency telephone calls to Plaintiff's residential telephone line using an automatic

18 | telephone dialing system or pre-recorded or artificial voice to deliver a message without
19 Plaintiff's prior express consent in violation of 47 U.S.C. §227(b)(L)(B). |
20 i 35. Asa result of Defendants’ violations of the TCPA, Plaintiff is entitled to J ;
aE $500.00 for each artificial and/or prerecorded telephone call pursuant to 47 U.S.C. §227

22 || (oX3XB).

 

a5: : 34. -AS@ result of Defendants’ violations of the TCPA, Plaintiff is entitled to 4
‘Zi; || maxiroum of treble damages pursuant to 47 U.S.C. §227(b)(3)(C).

: 250 . 37. Pursuant to 47 U.S.C. §227 ef seg. and as a result of the above violations, the .
36% Defendant is liable to the Plaintiff for actual damages and statutory damages in an amount to ;
27: Ilbe determined at the time of trial, .

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

 

 
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! : : WHEREFORE, Plaintiffs respectfuily request that judgment be entered against
2 ‘ll Defendants and each of them for the following:
3 |h (a) Actua) damages; :
4 (b) Statutory damages pursuant to California Civil Code §1788.30(2) and the
5 |e TCPA;
6a. (c) Costs and reasonable avorney" s fees pursuant to California Civil Cod
aye §1788.30(b) and §1788.30(c); | :
8 : (d) For punitive damages; and ° , »
9 I , (e) For such other and further relief as the Court may deem just a and proper.
10 it - ™
nf Dae: EBA
a i . ieee Oo Plairiti fis
14: - DEMAND FOR JURY TRIAL
45; Please take notice that Plaintiffs demand trial by jury in this action.
6 Sw ass o
7 ‘
7 Date C/A Y
9 ; At émney. for Plaintiffs :
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26,
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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 
